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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 IN RE:                                                              CASE NO.: 8:18-bk-08742-RCT
                                                                                     CHAPTER 7
 Jorge Ortega,
          Debtor,
 Diane Ortega,
        Joint Debtor.
 _________________________________/

                    MOTION FOR RELIEF FROM AUTOMATIC STAY
                        (Final Judgment of Foreclosure Obtained)

                                NOTICE OF OPPORTUNITY TO
                             OBJECT AND REQUEST FOR HEARING

 Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without
 further notice or hearing unless a party in interest files a response within twenty one (21) days from
 the date set forth on the attached proof of service, plus an additional three days for service if any
 party was served by U.S. Mail.

 If you object to the relief requested in this paper, you must file a response with the Clerk of the
 Court at Sam M. Gibbons United States Courthouse, 801 N. Florida Avenue, Suite 555, Tampa,
 Florida 33602 and serve a copy on the movant’s attorney, Attorney for Secured Creditor, at
 Robertson, Anschutz & Schneid, PL, 6409 Congress Ave., Suite 100, Boca Raton, FL 33487, and
 any other appropriate persons within the time allowed. If you file and serve a response within the
 time permitted, the Court will either schedule and notify you of a hearing, or consider the response
 and grant or deny the relief requested without a hearing.

 If you do not file a response within the time permitted, the Court will consider that you do not
 oppose the relief requested in the paper, will proceed to consider the paper without further notice
 or hearing, and may grant the relief requested.


       Secured Creditor, THE BANK OF NEW YORK MELLON as Trustee for Structured

Asset Mortgage Investments II Inc. Mortgage Pass-Through Certificates Series 2005-AR2, by

and through the undersigned counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d),

for a modification of the automatic stay provisions for cause, and, in support thereof, states the



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following:

   1. Debtor(s), Jorge Ortega and Diane Ortega, filed a voluntary petition pursuant to Chapter 7

       of the United States Bankruptcy Code on October 11, 2018.

   2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C.

       § 1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and

       statutes affecting the jurisdiction of the Bankruptcy Courts generally.

   3. Secured Creditor hereby waives the requirements of 11 U.S.C. § 362(e). The automatic

       stay of any act against property of the estate under § 362(a) shall continue until this Court

       orders or the stay is otherwise terminated by operation of law.

   4. Secured Creditor filed a foreclosure complaint against the Debtor(s) in the Circuit Court

       for the Thirteenth Judicial Circuit in Hillsborough County, Case Number: 09-CA-30450

       M on December 12, 2009, due to the default under the terms of the Note and Mortgage

       securing Secured Creditor’s interest in certain real property legally described as:

       LOT 5, BLOCK 1, BLOOMINGDALE SECTION “JJ”, ACCORDING TOT HE
       PLAT THEREOF RECORDED IN PLAT BOOK 64, PAGE 22, OF THE PUBLIC
       RECORDS OF HILLSBOROUGH COUNTY, FLORIDA.
       This property is located at the street address of: 3605 Warmspring Way, Valrico, Florida

       33594-6347.

   5. A Final Judgment of Foreclosure (“Judgment”) was entered against the Debtor(s) on

       March 2, 2015 in the amount of $331,233.10. A true and accurate copy of the Judgment

       attached hereto as Exhibit “A.” The Judgment has not been satisfied by the Debtor(s).

   6. The appraised value of the property is $247,235.00. See Exhibit “B” which is attached

       hereto and permissible as a property valuation under Fed. R. Evid. 803(8). The subject



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   property is also encumbered by additional liens in the amount of $90,000.00

7. Based upon the Debtor(s)’ schedules, the property is surrendered and claimed as

   non-exempt. The Trustee has not abandoned the property.

8. Secured Creditor’s security interest in the subject property is being significantly

   jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents

   while Secured Creditor is prohibited from pursuing lawful remedies to protect such

   interest. Secured Creditor has no protection against the erosion of its collateral position

   and no other form of adequate protection is provided.

9. If Secured Creditor is not permitted to enforce its security interest in the collateral or be

   provided with adequate protection, it will suffer irreparable injury, loss, and damage.

10. Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

   this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

   adequate protection to Secured Creditor for its interest in the above stated collateral. The

   value of the collateral is insufficient in and of itself to provide adequate protection which

   the Bankruptcy Code requires to be provided to the Secured Creditor. Secured Creditor

   additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the

   Bankruptcy Code, as the collateral is unnecessary to an effective reorganization of the

   Debtor’s assets.

11. Once the stay is terminated, the Debtors will have minimal motivation to insure, preserve,

   or protect the collateral; therefore, Secured Creditor requests that the Court waive the

   14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).




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   12. Secured Creditor has incurred court costs and attorney’s fees in this proceeding and will

       incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving

       and protecting the property, all of which additional sums are secured by the lien of the

       mortgage. Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or

       alternatively, leave to seek recovery of its reasonable attorneys’ fees and costs in any

       pending or subsequent foreclosure proceeding.

   13. A Proposed Order accompanies this Motion. See Exhibit “C” attached hereto.

       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.

Date: October 18, 2018

                                             ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                             Authorized Agent for Secured Creditor
                                             6409 Congress Ave., Suite 100
                                             Boca Raton, FL 33487
                                             Telephone: 561-241-6901
                                             Facsimile: 561-997-6909

                                             By: _/s/ Shreena Augustin___________
                                                 Shreena Augustin, Esquire
                                                 Email: saugustin@rasflaw.com
                                                 FL Bar Number: 0117598




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 18, 2018, I electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via

CM/ECF or United States Mail to the following parties:

Jorge Ortega
3605 Warmspring Way
Valrico, FL 33596

Diane Ortega
3605 Warmspring Way
Valrico, FL 33596

Jack G Kramer
Law Office of Jack G. Kramer
410 Ware Blvd., Suite 105
Tampa, FL 33619

Dawn A Carapella
P.O. Box 67
Valrico, FL 33595-0067

United States Trustee - TPA7/13
Timberlake Annex, Suite 1200
501 E Polk Street
Tampa, FL 33602

                                           ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                           Authorized Agent for Secured Creditor
                                           6409 Congress Ave., Suite 100
                                           Boca Raton, FL 33487
                                           Telephone: 561-241-6901
                                           Facsimile: 561-997-6909

                                           By: _/s/ Shreena Augustin___________
                                               Shreena Augustin, Esquire
                                               Email: saugustin@rasflaw.com
                                               FL Bar Number: 0117598



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                                                                                         Bob Henriquez
                                                                  Hillsborough County Property Appraiser
                                                                                                    https://www.hcpafl.org/
                                                                                                     15th Floor County Ctr.
                                                                            601 E. Kennedy Blvd, Tampa, Florida 33602-4932
                                                                                                        Ph: (813) 272-6100



Folio:
                                            Owner Information
                                            Owner Name            ORTEGA JORGE B
                                                                  ORTEGA DIANE

                                            Mailing Address       3605 WARMSPRING WAY
                                                                  VALRICO, FL 33596-6347
                                            Site Address          3605 WARMSPRING WAY, VALRICO
                                            PIN                   U-07-30-21-36D-000001-00005.0
                                            Folio
                                            Prior PIN
                                            Prior Folio
                                            Tax District          U - UNINCORPORATED
                                            Property Use          0100 SINGLE FAMILY R
                                            Plat Book/Page        64/22
                                            Neighborhood          224005.00 | Bloomingdale Area
                                            Subdivision           36D | BLOOMINGDALE SECTION J J



Value Summary
Taxing District           Market Value              Assessed Value              Exemptions               Taxable Value
County                    $247,235                  $178,110                    $50,000                  $128,110
Public Schools            $247,235                  $178,110                    $25,000                  $153,110
Municipal                 $247,235                  $178,110                    $50,000                  $128,110
Other Districts           $247,235                  $178,110                    $50,000                  $128,110

Note: This section shows Market Value, Assessed Value, Exemptions, and Taxable Value for taxing districts. Because of changes in
Florida Law, it is possible to have different assessed and taxable values on the same property. For example, the additional $25,000
Homestead Exemption and the non-homestead CAP do not apply to public schools, and the Low Income Senior Exemption only applies
to countywide and certain municipal millages.

Sales Information
Book              Page           Month      Year       Type Inst Qualified or          Vacant or Improved    Price
                                                                 Unqualified
7857              0345           08         1995       WD        Qualified             Improved              $175,500
7227              0644           12         1993       WD        Qualified             Improved              $168,300
6809              0108           12         1992       WD        Unqualified           Vacant                $2,494,000




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Building Information
Building 1
Type                                     01 | SINGLE
                                         FAMILY
Year Built                               1993
Building 1 Construction Details
Element                     Code   Construction Detail
Class                       C      Masonry or Concrete
                                   Frame
Exterior Wall              7       Masonry Frm: Stucco
Exterior Wall              4       Wood/Masonry Siding
Roof Structure             3       Gable or Hip
Roof Cover                 3       Asphalt/Comp. Shingle
Interior Walls             5       Drywall
Interior Flooring          8       Carpet
Heat/AC                    2       Central
Architectural Style        10      Contemporary Multi-Story
Condition                  3       Average
Bedrooms                   4.0
Bathrooms                  3.0
Stories                    2.0
Units                      1.0

Building 1 subarea
           Area Type                     Gross Area                     Heated Area              Depreciated Value
              TWO                          2,678                           2,678                     $143,908
              BAS                            51                              51                       $2,885
              FGR                           304                                                       $8,598
              BAS                            63                                63                     $3,564
              FOP                            18                                                        $226
              FGR                           285                                                       $8,033
              FUS                           285                             285                      $14,481
             Totals                        3,684                           3,077                     $181,695

Extra Features
OB/XF        Description                         Building     Year On      Length      Width     Units        Value
Code                                                          Roll
0351         POOL 01 SCREENED                    1            1993         0           0         1.00         $20,557

Land Information - Total Acreage: 0.20
Use Code     Description            Zone         Front        Depth        Land Type             Total Land   Land Value
                                                                                                 Units
REE1         Res SF Class 5.25      PD           75.00        112.00       SE | SF LOTS W/ EFF   8,400.00     $44,982
                                                                           SIZE

Legal Description
BLOOMINGDALE SECTION J J LOT 5 BLOCK 1




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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION
                              www.flmb.uscourts.gov

 IN RE:                                                      CASE NO.: 8:18-bk-08742-RCT
                                                                             CHAPTER 7
 Jorge Ortega,
         Debtor,
 Diane Ortega,
       Joint Debtor.
 _________________________________/

             ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

       THIS CASE came on consideration without a hearing on THE BANK OF NEW YORK
MELLON F/K/A THE BANK OF NEW YORK as successor in interest to JP Morgan Chase
Bank, N.A. as Trustee for Structured Asset Mortgage Investments II Inc. Mortgage Pass-Through
Certificates Series 2005-AR2’s (“Secured Creditor”) Motion for Relief from Stay (Docket No.
__).   No appropriate response has been filed in accordance with Local Rule 2002-4.
Accordingly, it is:


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       ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.
   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured
       Creditor’s interest in the following property located at3605 Warmspring Way, Valrico,
       Florida 33594-6347 in Hillsborough County, Florida, and legally described as:
       LOT 5, BLOCK 1, BLOOMINGDALE SECTION “JJ”, ACCORDING TOT HE
       PLAT THEREOF RECORDED IN PLAT BOOK 64, PAGE 22, OF THE PUBLIC
       RECORDS OF HILLSBOROUGH COUNTY, FLORIDA.

   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtor(s).
   4. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement,
       loan modification, refinance agreement or loan workout/loss mitigation agreement.
   5. The Secured Creditor’s request to waive the 14-day stay period pursuant to Bankruptcy
       Rule 4001(a)(3) is granted.
   6. Attorneys’ fees in the amount of $345.00 and costs in the amount of $181.00 are awarded
       for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
       Debtor(s) or the Debtor(s)’ Bankruptcy estate.




                                                ###
Attorney, Shreena Augustin, is directed to serve a copy of this order on interested parties and file
a proof of service within 3 days of entry of the order.




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